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CRIMINAL COURT OF THE CITY OF NEW YORK

COUNTY OF NEW YORK : PART D
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THE PEOPLE OF THE STATE OF NEW YORK DOCKET NUMBER
2013NY050589
-against-
HELEEN MEES,
Defendant.
|

100 Centre Street
New York, New York
March 10, 2014

BE FOR E:
THE HONORABLE STEVEN STATSINGER,
Criminal Court Judge
APPEARANCE 8S:
FOR THE PEOPLE:

OFFICE OF THE DISTRICT ATTORNEY

One Hogan Place

New York, New York

BY: SAMANTHA SCHOTT,

Assistant District Attorney

FOR THE DEFENDANT :
IRA LONDON, ESQ.

CAROLE D. GRAHAM
OFFICIAL COURT REPORTER
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PROCEEDINGS

COURT OFFICER: Calendar number ten, Heleen Mees.

DEFENSE COUNSEL: Good morning, Your Honor.

THE COURT: Nice to see you.

COURT OFFICER: Your appearance for the record.

DEFENSE COUNSEL: Ira London for Heleen Mees.

ASSISTANT DISTRICT ATTORNEY: Samantha Schott for
the People. S-C-H-O-T-T.

THE COURT: I see on September 18th copies of Judge
Amaker's decision denying the motions were mailed to the
parties. We are past that. This is on for trial. Are the
People ready?

MS. SCHOTT: The People are not ready for trial
today. We believe we have a disposition. The People move
for a family ACD with fourteen sessions of individual
counseling and a full and final order of protection.

THE COURT: Is that on consent?

MR. LONDON: That is on consent, Your Honor.

THE COURT: It is so ordered. Ma'am, if you stay
out of trouble for twelve months and complete and bring in
proof of fourteen counseling sessions and abide by the order
of protection, your case will be dismissed and sealed at the
end of one year. You will have to come back in two months
with an update on the counseling.

That will be May 9th, if that works for you, Mr. London.

MR. LONDON: May I check that?
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COURT:

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LONDON :

PROCEEDINGS

Yes. I need an order as well, People.
May 9th is a Friday?
Yes.

Yes.

May 9th for update. Parole is
Two other issues.

Yes.

The bail was posted by a third party.

I would move to exonerate.

THE

MR. LONDON:

COURT :

Bail is exonerated. She is ROR'D.

I would like to clarify that the order

of protection does not preclude legal action should --

THE

COURT:

As long as all contacts are through

counsel, I don't foresee that will violate the order of

protection.

No direct contact between the defendant and the

person named in the order.

MR. LONDON:

THE

COURT:

Only by the attorneys.

I don't see that as a problem.

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CERTIFIED TO BE A TRUE AND ACCURATE

TRANSCRIPT OF THE ABOVE PROCEEDINGS

 

Cale. D. Cabo wi

CAROLE D. GRAHAM

OFFICIAL COURT REPORTER
